UNITED STATES DISTRICP COURT FOR HE SOUT AE RN RET Ge NEW VL O/08/ 19 Faget Ott: 7-1-0v-04000-KMK

 

 

Date Filed:

ATTORNEY(S) THE JAMES LAW FIRM PLLC PH: (914) 358-6423

445 HAMILTON AVE. STE. 1102 WHITE PLAINS, NEW YORK 10601 | JACQUELINE M. JAMES Court Date:
Strike 3 Holdings,LLC

Plaintiff

VS

Douglas Draygoh

Defendant
STATE OF NEW YORK, COUNTY OF WESTCHESTER, SS:: AFFIDAVIT OF SERVICE

Lauren Spikes, being sworn deposes and states that, the Deponent is not a party herein, is over the age of 18 years and
resides in the State of New York.

That on 8/7/2019, at 12:53 PM at 351 S 3RD AVE 3RD FL, MT VERNON, NY 10550, Deponent served the within Summon
In a Civil Action ; First Amended Complaint for Copyright Infringement & Exhibit A . On: Douglas Draygoh, Defendant
therein named, ( hereinafter referred to as "subject").

By delivering a true copy of each to said subject personally; Deponent knew the person so served to be the person described
in as said subject therein. Adescription of is as follows:

Sex: Male Color of skin: Brown Color of hair: Balding Age: 45
Height: Over 6ft Weight: Over 200 Lbs. Other :

| asked the person spoken to, on whether the subject was in active military service or financially dependent upon any one
who is in the military service of the United States or of the State of New York in any capacity whatever and received a
negative reply. The source of my information and belief are the conversations above narrated. Upon that information and
belief | assert that the recipient is not in the military service of New York State or of the United States as that term is defined

in either the State or in Federal statutes.
JL Ml, Li

Progéss Server, Please Sign
Lauren Spikes

Lic#
Job #: 1931821

    

Swe iQ before me on August 8, 2019

 
  

    

Hedthet Mathe
NOTARY PUBLIC STATE OF NY
No.01MA6388964; Qualitified in Westchester County
My Commission Expires March 18, 2023

 

Client’s File No.:

INTER COUNTY JUDICIAL SERVICES, LLC, 901 NorTH Broabway Suive 18, Norra Wire PLAins N¥ 10603 LICENSE # 1371771

 

 
